Case 3:20-cv-13509-GC-DEA Document 66-10 Filed 08/31/22 Page 1 of 3 PagelD: 387

Exhibit E
NBRE-2012

Case 3:20-cv-13509-GC-DEA Document 66-10 Filed 08/31/22

Nissan-infiniiLT ©

Page 2 of 3 PagelD: 388

NISSAN) ? O Box 660360 Dallas Texas 75266-0360

Telephone. (800) 456-6622

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April 17, 2019

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>00%62 2876952 002 008143 Account: 2500 7889 347

ANDREW RITZ Contract Date: 5/10/2017

94 HALLS CROFT RO UNIT D Vehicle: 2017 NISSAN SENTRA

FREEHOLD N) 077285268 VIN: 3N1AB7AP1HY273133
Lease Maturity Date: 5/9/2019

Dear ANDREW M RITZ:

We understand that you wish to extend your above-referenced lease for up to an additional three (3)
month(s), and Nissan-Infiniti LT ("NILT") is agreeable to allowing such an extension.

Depending on your tocation, NILT may be required to collect state sales/use tax on any lease payment
exceeding the term of your original Motor Vehicle Lease Agreement (“Lease Agreement"). The application
of state sales/use taxes, or increases in such taxes, could cause the monthly lease payments to increase
under this extension from the amount in your criginal Lease Aqreement. Your total monthly payment,
which includes, if applicable, monthly sales/use tax of $11.27, Is $181.50. Your personal property tax
responsibility under the Lease Agreement will remain during the extension period, and you agree to
responsibility for such taxes pursuant to the terms of your Lease Agreement.

You further agree to maintain registration and insurance coverage for the leased vehicle during the
extension period. Your vehicle must be returned no later than three (3) month(s) after your
above-referenced original scheduled fease maturity date. You may return your vehicle any time during
the extension period. Your account must be current at the time of the lease extension and at the time of
vehicle return. Additional mileage wilt be allotted on a pro-rata monthly basis in accordance with the

mileage allowance originally agreed to in your Lease Agreement. Your new extension period will end
8/9/2019.

Except as modified in this correspondence, the provisions of your Lease Agreement will continue to govern
all terms and conditions of your lease of the vehicle during the extension period.

Please sign in the spaces provided in order to indicate your agreement to the terms of extension reflected
in this letter, This letter must be signed by all parties responsible for this account, including any co-lessees

and guarantors, and returned to NILT at the following address: Nissan-Infinitl LT, P.O. Box 660695,
Dallas, TX 75266-0695.

Yours truly,

Lease Customey Netw,
Nissan-Infiniti

Date: oer APL 204
Date: 4 L: 9

For leases owned by Nissan-Infinitl LT, Nissan Motor Acceptance Corporation acts as servicer.

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Case 3:20-cv-13509-GC-DEA Document 66-10 Filed 08/31/22

Apal 17, 2019

Account: 2500 7869 347
ANDREW RITZ Contract Date: 5/10/2017
94 HALLS CROFT RD UNIT D Vehicle: 2017 NISSAN SENTRA
FREEHOLD NJ 077285268 VIN: 3N1AB87AP1HY273133

Lease Maturity Date: 5/9/2019

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Yours truly,

Date: A201

Date: 22/ 7

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Page 3 of 3 PagelD: 389

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